Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 1 of 9 PageID #: 20833



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


 TQ DELTA, LLC,

                  Plaintiff,


         V.
                                                   Civil Action No. 1:13-cv-02013-RGA
 ZYXEL COMMUNICATIONS, INC
 and
 ZYXEL COMMUNICATIONS
 CORPORATION,

                  Defendants.




                                  MEMORANDUM OPINION

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June   lJ-,2018
 Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 2 of 9 PageID #: 20834


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ANDREWS, U.S.           ISTRICT JUDGE:

        Presently before the Court is Defendants' Motion for Expedited Consideration of a

Preliminary Injunction (D.I. 390) and related briefing (D.I. 391 , 412, 423). The Court heard oral

argument on December 19, 2017. (D.I. 458 ("Tr.")).

I.      BACKGROUND

        Plaintiffs predecessor, Aware, Inc., helped to develop the DSL standards. 1 (D.I. 391 at

4). In 2012, Aware signed and provided Patent Declarations to the International

Telecommunications Union for each relevant DSL standard. (D.I. 28-1 , Exh. A). In doing so,

Aware committed to grant other parties patent licenses on RAND 2 terms "to make, use and sell

implementations of the specified ITU DSL standards." 3 (D.I. 391 at 4-5).

        In June 2013, Plaintiff wrote to Defendants4 regarding its patent portfolio. (D.I. 1 at ,r 12;

D.I. 19 at 46, ,r 8). Defendants wrote back, expressing interest in a license. (D.I. 1 at ,r,r 12-17;

D.I. 19 at ,r,r 12-14, 16). The parties never came to an agreement. Defendants allege that the

"parties discussed terms for an NDA to allow for informed license negotiations but did not

finalize terms of that NDA before [Plaintiff] filed this action." (D.I. 391 at 5 (citing D.I. 1 at ,r,r

12-17; D.I. 19 at ,r,r 12-14, 16)). Plaintiff alleges that it "attempted to negotiate in good faith

with (Defendants], but [Defendants) did not reciprocate." (D.I. 412 at 1 (citing D.I. 1 at ,r,r 12-

19)).




         1
           In 2012, Plaintiff purchased the Patents-in-Suit from Aware. (No. 14-954, D.I. 232 at 1; No. 14-954, D.I.
255 at 5-6).
         2
           RAND stands for "reasonable and non-discriminatory."
         3 Different standard-setting organizations use different terminology, but the terms "RAND" and "FRAND"

mean the same thing. (D.I . 391 at 5, n.8). The parties use "RAND" and "FRAND" interchangeably for purposes of
this motion.
         4
           The Defendants in this action are ZyXEL Communications, Inc., incorporated in California, and ZyXEL
Communications Corporation, registered in Taiwan. (D.1. 7 at ,i,i 2-3).
Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 3 of 9 PageID #: 20835



        In December 2013, Plaintiff filed this patent infringement suit, asserting its portfolio of

DSL patents against Defendants. (D.I. 1). Defendants subsequently filed a counterclaim,

alleging that Plaintiff breached its obligations to the ITU by failing to conclude a RAND license

with Defendants for patents which Plaintiff believes are standard-essential, and instead suing

Defendants, seeking a permanent injunction. (D.I. 19; D.I. 391 at 3-4).

        In 2017, Plaintiff filed suit in the High Court of Justice in London, England, against

ZyXEL UK and ZyXEL Communications A/S (incorporated in Denmark) for infringement of

two European patents. (D.I. 394-1). One of these two patents, EU 1,792,430, "is the European

counterpart to claims in the Family 5 patents asserted in this action." (D.I. 391 at 6). The other

does not correspond to a patent asserted in this action. (D.I. 394-1 at ,r 3). Plaintiff also seeks a

declaration that the terms of an offer it made to the UK and Danish companies on May 26, 2016

are FRAND. (D.I. 391 at 6). 5

        Before Plaintiff filed the UK action, the High Court of Justice issued its main judgment in

Unwired Planet International Ltd. v. Huawei Technology Co. Ltd. , 2017 EWHC 711 (Pat.) 5

Apr. 2017. (D.I. 391 at 5). The decision provided that there is only one royalty rate that

qualifies as FRAND for any given set of standard-essential patents and products, and a patent

holder does not breach FRAND obligations by offering a license at higher than FRAND rates

unless the rate is "significantly" above the true FRAND rate. 6 (Id.) . Defendants characterize the

decision as "groundbreaking," and accuse Plaintiff of forum shopping. (D.I. 391 at 5; D.I. 423 at

6; Tr. 3 :25-4:4).




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            Defendants represent that the High Court ofJustice could issue an injunction as soon as January 2019.
(Tr. 6: 1-5).
          6
            Defendants represent that the Unwired Planet case is on appeal. (Tr. 16:24-25). Thus, the state of UK
FRAND law might well be different by the time the High Court of Justice decides the FRAND issue.


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 Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 4 of 9 PageID #: 20836



       Now, Defendants move for Expedited Consideration of a Preliminary Injunction. (D.I.

390). Defendants ask the Court to enjoin Plaintiff from pursuing the UK action. (D.I. 391 at 1).

II.    LEGAL STANDARD

               The Third Circuit Court of Appeals has established a test for determining
       whether an anti-suit injunction should be entered to restrain the advancement of a
       foreign parallel proceeding. In General Electric Co. v. Deutz [AG] , the Third
       Circuit adopted the restrictive approach, advising the district courts that it would
       "rarely permit[] injunctions against foreign proceedings." [270 F.3d 144, 160-61
       (3d Cir. 2001).] Under this restrictive approach, domestic and foreign parallel
       proceedings may ordinarily proceed simultaneously, "at least until one has
       reached the stage where its ruling becomes resjudicata." [Id. at 157.] District
       courts may appropriately enjoin "foreign parallel proceedings only to protect
       jurisdiction or an important public policy." [Id. at 161.] These exceptions to the
       ordinary rule against issuing anti-suit injunctions are to be interpreted narrowly.
       [See Stonington Partners, Inc. v. Lernout & Hauspie Speech Prods. N. V., 310
       F.3d 118, 127 (3d Cir. 2002).] Vexatiousness, harassment, or inconvenience to
       the parties are usually insufficient grounds upon which a court may enjoin a
       foreign parallel proceeding. [See D eutz, 270 F.3d at 161.] Likewise, duplication
       of issues in the two suits is insufficient to justify an anti-suit injunction.
       [Stonington, 310 F.3d at 127 (discussing Compagnie dex Bauxites de Guinea v.
       Ins. Co. ofN. Am., 651 F.2d 877, 887 (3d Cir. 1981)).]

                While there has been scant litigation clarifying bow the Third Circuit
       expects district courts to apply the restrictive test set forth in Deutz, its decisions
       have reflected its serious concern for comity, its respect for the sovereignty of
       other courts, and its faith in the ability of other courts to handle parallel
       proceedings in a fair and just manner without interference. [Deutz, 170 F.3d at
       160-61 .] Its emphasis on comity is especially significant in the international
       context. [See id. at 160 ("Although [comity] is a consideration in federal and state
       litigation, it assumes even more significance in international proceedings.").] As
       the Court noted in Deutz, "the proper exercise of comity demonstrates confidence
       in the foreign court's ability to adjudicate a dispute fairly and efficiently ....
       Failure to accord such deference invites similar disrespect for our judicial
       proceedings. Reciprocity and cooperation are worthy goals of comity." [Id. at
       161 (summarizing the Sixth Circuit's discussion of comity in Gau Shan Co. v.
       Bankers Trust Co., 956 F.2d 1349, 1355 (6th Cir. 1992)).] The Third Circuit's
       adoption of the restrictive approach and its emphasis on comity suggests its desire
       to avoid sending foreign courts the '"the message, intended or not, that the issuing
       court has so little confidence in the foreign court's ability to adjudicate a given
       dispute fairly and efficiently that it is unwilling even to allow the possibility. "'
       [See Goss Intern. Corp. v. Man Roland Druckmaschinen Aktiengesellschaft, 491
       F.3d 255, 260 (8th Cir. 2007)).] Overall, the Third Circuit's jurisprudence




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 Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 5 of 9 PageID #: 20837



           instructs district courts to weigh comity heavil y when considering whether an
           anti-suit injunction should issue.

Bro-Tech Corporation v. Thermax, Inc., 2007 WL 2597618 , at *3 (E.D. Pa. Sept. 4,

2007). 7

III.       DISCUSSION

           In applying the foregoing principles to the case before the Court, Judge Rufe further

explained,

                   Considering the Third Circuit's emphasis on comity and reluctance to
           interfere with foreign proceedings absent extraordinary or aggravated
           circumstances, the Court is not convinced that an anti-suit injunction is
           appropriate in this case. The Third Circuit's dictate in Deutz is clear: an
           injunction restraining the advancement of foreign proceedings should be entered
           only to protect this Court's jurisdiction or to protect an important public policy.
           Neither of these rationales supports an anti-suit injunction here-the English action
           neither threatens to strip the Court of its jurisdiction over the instant action nor
           endangers an important public policy.

                   The issue of comity is at the forefront of the Court's analysis. This Court
           has the utmost confidence in and respect for the High Court's ability to handle the
           matter before it in the appropriate manner. So long as the High Court is informed
           of the ongoing nature of the instant litigation ... the Court has great faith that the
           High Court will recognize the significance of the ... [issue] before it, and
           determine whether it is presently appropriate to act on the motion. As of yet, the
           judgment has not been obtained in the English proceedings; therefore, under
           principles of comity outlined in cases such as Compagnie des
           Bauxites and Deutz, this Court must allow the High Court to exercise its authority
           without interference. See Deutz, 270 F.3d at 157; Compagnie des Bauxites, 651
           F.2d at 887.

Bro-Tech, 2007 WL 2597618 , at *3 . The same assessment applies here.




           7
            Defendants cite to the Ninth Circuit standard for enjoining foreign parallel proceedings throughout their
briefs. (See generally D.I. 391, 423). However, the Third Circuit has expressly rejected the Ninth Circuit' s "lax"
standard, stating, "By contrast, the Second, Sixth, and District of Columbia Circuits use a more restrictive approach,
rarely permitting injunctions against foreign proceedings. . .. Our Court is among those that resort to the more
restrictive standard." Deutz, 270 F.3d at 160-61.


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 Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 6 of 9 PageID #: 20838



        As a threshold matter, for a court to consider an antisuit injunction, there likely exists a

requirement that the action in the enjoining court will be dispositive of the enjoined suit. 8 See

Deutz, 270 F.3d at 157-58 (adopting "the more restrictive" approach to granting injunctions

against foreign proceedings, and citing to China Trade & Dev. Corp. v. M. V Choong Yong, 837

F.2d 33 , 35-36 (2d Cir. 1987), which holds that "resolution of the case before the enjoining court

must be dispositive of the action to be enjoined"); see also Microsoft Corp. v. Motorola Inc., 696

F.3d 872, 881-82 (9th Cir. 2012) (applying the more "lax" standard, and holding, "First, [the

court] determine[s] 'whether or not the parties and the issues are the same' in both the domestic

and foreign actions, and ' whether or not the first action is dispositive of the action to be

enjoined. "'). As Plaintiff notes, Defendants do not argue that this action will be dispositive of

the UK action. (Tr. 21:25-22:9; D.I. 412 at 5). Indeed, the UK action involves different patents,

one of which does not correspond to any U.S. patent asserted in this action. 9 (D.I. 394 at i! 3).

Defendants' motion likely fails solely because this action is not dispositive of the UK action.

        Regardless, Defendants dispute that the Bro-Tech assessment applies here. They argue

(1) that the UK action would usurp this Court' s jurisdiction, and (2) that the Court must enjoin

Plaintiff from pursuing the UK action to protect the "important U.S. policy to effectuate the

procompetitive policies of standard setting associations," which holds that seeking injunctive

relief is inconsistent with RAND obligations. (D.I. 391 at 1, 8, 12; D.I. 423 at 6).

        As to Defendants' first point, Defendants argue that Plaintiff "wants the UK court to

decide these [FRAND] issues before this Court can do so," yet "is still eager to avail itself of this

Court and its judicial resources to pursue its claims against [Defendants] for infringement of


        8
           Neither party cites a Third Circuit case, however, articulating such a requirement.
        9
           The UK action also involves different defendants, namely ZyXEL Communications UK Limited and
ZyXEL Communications A/S. (D.I. 394-1 , Exh. 1). I make no determination as to whether those entities are
functionally the same as Defendants in this action.


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Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 7 of 9 PageID #: 20839



numerous U.S. patents." (D.I. 391 at 8). However, I am unconvinced that this Court' s

jurisdiction is threatened by the UK action. "While it is true that res judicata can be applied to

bar relitigation of claims previously decided on the merits, res judicata is . . . not a doctrine

which would defeat subject matter jurisdiction .. . ." Livera v. First Nat. State Bank of NJ , 879

F.2d 1186, 1190 (3d Cir. 1989); accord, Rycoline Prods. , Inc. v. C & W Unlimited, 109 F.3d 883 ,

886 (3d Cir. 1997). Accordingly, even if Plaintiff attempted to assert a judgment on the FRAND

issue in the UK action as a res judicata bar to any of Defendants' defenses or counterclaims, that

would not strip this Court of its jurisdiction over the RAND matter. 10

        Moreover, entry of a judgment on the FRAND issue by the High Court of Justice is

uncertain. If Defendants do not infringe the asserted European patents, then the High Court of

Justice may not reach the FRAND issue.

        Defendants cite Laker Airways v. Sabena, Belgian Worldwide Airlines, 731 F.2d 909,

915, 939 (D.C. Cir. 1984), where the D.C. Circuit affirmed an injunction where the foreign

defendants had instituted a UK proceeding "solely" to terminate the United States claims. (D.I.

391 at 7-8). The court found that "United States judicial functions ha[d] been usurped,

destroying the autonomy of the courts." Id. at 939. However, the Laker case is distinguishable.

(D.I. 412 at 16-17). That case involved defendants filing suit in England "solely" to obtain

injunctions preventing US courts from exercising jurisdiction over cases involving US antitrust

law violations. Laker, 731 F.2d at 918, 938. The Laker court explained that "parallel

proceedings on the same in personam claim should ordinarily be allowed to proceed

simultaneously, at least until a judgment is reached in one which can be pled as res judicata in



         10
            The parties agree that an injunction in the UK directly impacts UK sales only. (Tr. 34: 1-8, 38:7-20).
Thus, even were the High Court of Justice to reach the FRAND issue, it appears that res judicata would not apply to
any injunction it issues.


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 Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 8 of 9 PageID #: 20840



the other." Id. at 927-28 . Here, Plaintiff has not instituted the UK action "solely" to terminate

the United States claims. Rather, in the UK action, Plaintiff asserts at least one European patent

that has no U.S. equivalent in this litigation. Accordingly, the circumstances suggest that the UK

action should proceed parallel to this action, and do not warrant an injunction.

         As to Defendants' second point, there is no ''per se rule" that standard-essential patent

owners are not entitled to injunctions. Apple Inc. v. Motorola Inc., 757 F.3d 1286, 1331-32 (Fed.

Cir. 2014), overruled on other grounds by Williamson v. Citrix Online, LLC, 792 F.3d 1339

(Fed. Cir. 2015). Therefore, Defendants' argument that some "federal courts [outside of the

Third Circuit] have come to the ... conclusion that seeking injunctive relief against standard

implementers is inconsistent with RAND or FRAND obligations" does not indicate the presence

of some clear public policy that necessitates enjoining the UK action. 11 (D.I. 391 at 12). Rather,

as Plaintiff notes, ''there is an ongoing debate in the United States about FRAND policy and

allowing injunctions against infringement of [standard-essential patents]." (D.I. 412 at 12). As

such, I do not find that the UK action undermines an "important public policy." 12




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             In Realtek Semiconductor Corp. v. LSI Corp., relied heavily upon by Defendants, the district court
enjoined an ITC proceeding, but only after it had already found on summary judgment that the defendants breached
a contract with the plaintiff by instigating an ITC proceeding before offering a RAND license. 946 F. Supp. 2d 998,
1005 (N.D. Cal. 2013).
          12
             Defendants submitted a notice of additional authority, citing to Huawei Technologies, Co. v. Samsung
Electronics Co., 2018 WL 1784065 (N.D. Cal. Apr. 13, 2018). There, a district court, applying the "lax" standard of
the Ninth Circuit, granted "Samsung' s motion to enjoin Huawei from enforcing orders of a Chinese court until the
U.S. court had the ability to determine Huawei ' s breach of contract claims arising out ofFRAND obligations." {D.l.
514atp. 1).
         But that court found that "the policy that is undermined is [the] court' s ability to determine the propriety of
injunctive relief in the first instance," and noted that " [t]he Chinese injunctions would likely force [Samsung] to
accept Huawei ' s licensing terms, before any court has an opportunity to adjudicate the parties' breach of contract
claims." Huawei, 2018 WL 1784065, at *10. Here, the High Court of Justice would resolve the contract issues on
the basis of contract law. {Tr. 24:14-17). Moreover, Defendants do not agree that this Court would be bound by a
worldwide FRAND rate found by the High Court of Justice. (Tr. 12:6-17). Accordingly, Huawei is distinguishable
for multiple reasons.


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 Case 1:13-cv-02013-RGA Document 537 Filed 06/12/18 Page 9 of 9 PageID #: 20841



        Because the UK action will not usurp this Court' s jurisdiction, or threaten an important

public policy, I will deny Defendants' Motion for Expedited Consideration of a Preliminary

Injunction (D.I. 390). 13 See Deutz, 270 F.3d at 161.

IV.     CONCLUSION

        A separate order will be entered.




         13
            In the alternative, Defendants request that the Court expedite the proceedings. Where a party seeking
expedition shows "good cause" such that its request is "reasonable in light of the relevant circumstances," this Court
will expedite proceedings. Kone Corp. v. Thyssenkrupp USA Inc., 2011 WL 4478477, at *4 (D. Del. Sept. 26,
2011). To show good cause, a party must establish a sufficiently colorable claim and a sufficient possibility of a
threatened irreparable injury to justify the extra costs. Gimaex Holding, Inc. v. Spartan Motors USA, Inc., 2015 WL
9437530, at *5 (D. Del. Dec. 22, 2015). For the same reasons I am denying Defendants ' Motion for Expedited
Consideration of a Preliminary Injunction, I will deny Defendants' request to expedite the proceedings.


                                                          8
